8:11-cr-00287-RFR-MDN           Doc # 260     Filed: 10/03/14     Page 1 of 1 - Page ID # 794




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    8:11CR287

       vs.
                                                                       ORDER
LARRY E. JOHNSON,

                      Defendant.


This matter is before the Court on the defendant’s MOTION for Copies [259] of his Docket
Sheet, Judgment and Commitment and Plea Agreement. Defendant received copies of his
Judgment and Commitment and Docket Sheet in this case on January 22, 2013 (Filing No. 254).
Additionally, the defendant received copies of his Plea Agreement in this case on July 15, 2013
(Filing No. 256). The defendant is not entitled to these additional copies, nor has he set forth a
valid reason that the Court should supply copies of the requested documents without payment.
Accordingly, the Court will deny the defendant’s MOTION for Copies [259]. The defendant
may contact the Office of the Clerk of the United States District Court concerning the cost for
copies of his Docket Sheet, Judgment and Commitment and Plea Agreement.


       IT IS ORDERED:
       1.      The defendant’s MOTION for Copies [259] is denied.
       2.      The defendant may contact the Office of the Clerk of the United States District
Court concerning the cost for copies of his Docket Sheet, Judgment and Commitment and Plea
Agreement.
       3.      The Clerk of Court shall mail a copy of this Order to the defendant at his last
known address.


       Dated this 3rd day of October, 2014.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
